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                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA

                           Case No. 19-63111-Civ-COOKE/HUNT

 EDWARD-MARCUS GRIFFIN,

          Plaintiff,

 vs.

 ACCOUNT RESOLUTION SERVICES,

       Defendant.
 _______________________________________/
                        ORDER OF REFERRAL AND
            ORDER REGARDING COURT PRACTICES AND PROCEDURES
          THIS MATTER came before the Court upon the filing of the Complaint, which the
 Court has reviewed. To efficiently, expeditiously, and economically resolve this dispute, it is
 ORDERED as follows:
 I.       COURT-MANDATED REQUIREMENTS IN FDCPA-BASED CASES
          Plaintiff filed an action under the Federal Fair Debt Collection Practices Act, 15
 U.S.C. § 1692, et seq. (“FDCPA”), by which the Plaintiff claims injury from abusive,
 deceptive, or unfair collections or credit practices. To assist the Court in managing the case,
 the Plaintiff is ORDERED to file, within 21 days of the date of this Order, a statement of
 claim, no more than three double-spaced pages in length, summarizing the conduct
 complained of, relief requested, and reasons therefore. Also, within that allotted time, the
 Plaintiff must serve a copy of this Order, the statement of claim, and copies of all
 documents supporting the claim (e.g. records, sworn affidavits) on the Defendant’s counsel.
 The Plaintiff must, on that same date, additionally file a notice of full compliance with this
 Order.
          The Defendant, within 14 days of service of the Plaintiff’s statement of claim, is
 ORDERED to file with this Court a response to the Plaintiff’s statement and provide the
 Plaintiff with copies of all documents supporting its defenses. Concurrently, the Defendant
 must file a notice of full compliance with this Order.
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           The Parties are hereby advised that this case will be on the Court's FDCPA
 expedited-track calendar pursuant to which trial will be set nine months after the Plaintiff
 files the required statement of claim. Furthermore, barring the most extreme of compelling
 circumstances, the Court will not grant any motions for a continuance and/or extensions of time.
           Failure to comply with this Order may result in default, dismissal, and/or sanctions.
 II.       EXPEDITED SERVICE
           It is hereby ORDERED and ADJUDGED that, to expedite the processing of the
 action, Plaintiff will serve the Defendant with a copy of the summons and complaint within
 60 days of the date of this Order. If Plaintiff is unable to do so, Plaintiff must provide an
 explanation to the Court as to the reason why Defendant has not been served within the
 allotted sixty days and must provide a detailed description of the attempts he has made to
 serve Defendant. It is further ORDERED and ADJUDGED that failure to comply with this
 Order may lead to immediate dismissal of this cause.
 III.      REFERRAL OF CASE TO MAGISTRATE JUDGE
           This case is REFERRED to the Honorable Jonathan Goodman, United States
 Magistrate Judge for the Southern District of Florida, for appropriate resolution of all non-
 dispositive pretrial matters, as well as motions for attorney’s fees and costs and motions for
 sanctions, in accordance with 28 U.S.C. §§ 636(b)(1)(A) and (B). Motions in Limine and any
 motion affecting deadlines set by the Court's Scheduling Order are excluded from this referral,
 unless specifically referred by separate order.
           The Parties are notified that all subsequent pleadings bearing on matters referred to
 the Magistrate Judge must be so designated by setting forth beneath the case number the
 identity of the Magistrate Judge to which the matter has been referred and the date of the
 Order of Reference. Parties must also abide by Magistrate Judge Goodman’s Discovery
 Procedures Order appended to this Order.
 IV.       NOTICE OF JOINT MOTIONS
           The parties are hereby notified that multiple Plaintiffs or Defendants must file joint
 dispositive motions with co-parties unless there are clear conflicts of positions or grounds for
 relief.
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         DONE and ORDERED in chambers, at Miami, Florida, this 19th day of December
 2019.




 Copies furnished to:
 Patrick M. Hunt, U.S. Magistrate Judge
 Counsel of record
